Case 1:24-cv-01355-JDW   Document 12-1   Filed 03/03/25   Page 1 of 29 PageID #: 873




                             EXHIBIT 1
Case 1:24-cv-01355-JDW   Document 12-1   Filed 03/03/25   Page 2 of 29 PageID #: 874
Case 1:24-cv-01355-JDW   Document 12-1   Filed 03/03/25   Page 3 of 29 PageID #: 875
Case 1:24-cv-01355-JDW   Document 12-1   Filed 03/03/25   Page 4 of 29 PageID #: 876
Case 1:24-cv-01355-JDW   Document 12-1   Filed 03/03/25   Page 5 of 29 PageID #: 877
Case 1:24-cv-01355-JDW   Document 12-1   Filed 03/03/25   Page 6 of 29 PageID #: 878
Case 1:24-cv-01355-JDW   Document 12-1   Filed 03/03/25   Page 7 of 29 PageID #: 879
Case 1:24-cv-01355-JDW   Document 12-1   Filed 03/03/25   Page 8 of 29 PageID #: 880
Case 1:24-cv-01355-JDW   Document 12-1   Filed 03/03/25   Page 9 of 29 PageID #: 881
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 10 of 29 PageID #:
                                     882
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 11 of 29 PageID #:
                                     883
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 12 of 29 PageID #:
                                     884
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 13 of 29 PageID #:
                                     885
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 14 of 29 PageID #:
                                     886
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 15 of 29 PageID #:
                                     887
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 16 of 29 PageID #:
                                     888
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 17 of 29 PageID #:
                                     889
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 18 of 29 PageID #:
                                     890
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 19 of 29 PageID #:
                                     891
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 20 of 29 PageID #:
                                     892
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 21 of 29 PageID #:
                                     893
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 22 of 29 PageID #:
                                     894
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 23 of 29 PageID #:
                                     895
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 24 of 29 PageID #:
                                     896
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 25 of 29 PageID #:
                                     897
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 26 of 29 PageID #:
                                     898
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 27 of 29 PageID #:
                                     899
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 28 of 29 PageID #:
                                     900
Case 1:24-cv-01355-JDW   Document 12-1 Filed 03/03/25   Page 29 of 29 PageID #:
                                     901
